 1   BENJAMIN B. WAGNER
     United States Attorney
 2   PAUL A. HEMESATH
     MICHAEL M. BECKWITH
 3   Assistant U.S. Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, California 95814
     Telephone: (916) 554-2932
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 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )    CASE NO. 2:11-cr-00096-JAM
                                        )
12                      Plaintiff,      )    STIPULATION AND ORDER
                                        )
13   v.                                 )    DATE: September 10, 2013
                                        )    TIME: 9:45 a.m.
14   ALEJANDRO FLETES-LOPEZ, et al.,    )    COURT: Hon. John A. Mendez
                                        )
15                      Defendants.     )
                                        )
16                                      )
                                        )
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18          IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff; Kenny
21   Giffard and Donald Masuda, attorneys for defendant Irma Gonzalez;
22   Olaf Hedberg, attorney for defendant German Velazquez; Dina Santos,
23   attorney for defendant Mauricio Portillo; and Gilbert Roque, attorney
24   for defendant Guadalupe Reyes-Ontiveros, that the previously
25   scheduled status conference date of September 10, 2013, be vacated
26   and the matter set for status conference on November 5, 2013, at 9:45
27   a.m.
28          This request is made jointly by the government and defense in

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 1   order to permit time for continued preparation, including
 2   investigation, which is currently in progress, and plea negotiations.
 3    The parties agree that the interests of justice served by granting
 4   this continuance outweigh the best interests of the public and the
 5   defendant in a speedy trial.   18 U.S.C. § 3161(h)(7)(A).
 6        Further, the parties agree and stipulate the ends of justice
 7   served by the granting of such a continuance outweigh the best
 8   interests of the public and the defendants in a speedy trial and that
 9   time within which the trial of this case must be commenced under the
10   Speedy Trial Act should therefore be excluded under 18 U.S.C.
11   sections 3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2
12   [complex case] and T4 [reasonable time for defense counsel to
13   prepare], from September 10, to and including November 5, 2013.
14
15   Dated: September 6, 2013            /s/ Paul Hemesath
                                         Paul Hemesath
16                                       Assistant United States Attorney
                                         Counsel for Plaintiff
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18   Dated: September 6, 2013            /s/ Donald Masuda
                                         DONALD MASUDA
19                                       Attorney for Defendant
                                         IRMA GONZALEZ
20
     Dated: September 6, 2013            /s/ Olaf Hedberg
21                                       OLAF HEDBERG
                                         Attorney for Defendant
22                                       GERMAN GONZALEZ VELAZQUEZ
23   Dated: September 6, 2013            /s/ Dina Santos
                                         DINA SANTOS
24                                       Attorney for Defendant
                                         MAURICIO PORTILLO
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     Dated: September 6, 2013            /s/ Gilbert Roque
26                                       GILBERT ROQUE
                                         Attorney for Defendant
27                                       GUADALUPE REYES-ONTIVEROS
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 1                                    O R D E R
 2         The Court, having received, read, and considered the stipulation
 3   of the parties, and good cause appearing therefrom, adopts the
 4   stipulation of the parties in its entirety as its order.   Based on
 5   the stipulation of the parties and the recitation of facts contained
 6   therein, the Court finds that it is unreasonable to expect adequate
 7   preparation for pretrial proceedings and trial itself within the time
 8   limits established in 18 U.S.C. section 3161.   In addition, the Court
 9   specifically finds that the failure to grant a continuance in this
10   case would deny defense counsel to this stipulation reasonable time
11   necessary for effective preparation, taking into account the exercise
12   of due diligence.   The Court finds that the ends of justice to be
13   served by granting the requested continuance outweigh the best
14   interests of the public and the defendants in a speedy trial.
15         The Court orders that the time from September 10, 2013, up to
16   and   including November 5, 2013, shall be excluded from computation
17   of time within which the trial of this case must be commenced under
18   the Speedy Trial Act, pursuant to 18 U.S.C. sections 3161(h)(7)(A)
19   and (B)(iv), and Local Codes T2 [complex case] and T4 [reasonable
20   time for defense counsel to prepare].    It is further ordered that the
21   September 10, 2013, status conference shall be continued until
22   November 5, 2013, at 9:45 a.m.
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     Dated: 9/9/2013                      /s/ John A. Mendez
24                                        Hon. John A. Mendez
                                          United States District Court Judge
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